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                                                                                        CLERK^ U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT FOR THE                         ALEXANDRIA. VIRGINIA

                               EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


 UNITED STATES OF AMERICA

           V.                                           No. l:20-cr-135

 ABEL AMBROCIO,                                         Honorable Anthony J. Trenga

           Defendant.



                                      PLEA AGREEMENT


       Raj Parekh, Acting United States Attorney for the Eastern District of Virginia; undersigned

counsel for the United States; the defendant, Abel Ambrocio; and the defendant's counsel have

entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The

terms of this Plea Agreement are as follows:

        1.         Offense and Maximum Penalties


       The defendant agrees to plead guilty to Counts One and Two of the Indictment. Count One

charges the defendant with production of child pornography, in violation of 18 U.S.C. § 2251(a)

and (e).        The maximum penalties for this offense are: a mandatory a minimum term of

imprisonment of 15 years, a maximum term of 30 years of imprisonment, a fine of $250,000, full

restitution as outlined below, forfeiture of assets as outlined below, any special assessments

pursuant to 18 U.S.C.§§ 3013, 3014, and 2259A, and a minimum supervised release term of 5

years and a maximum of life.        Count Two charges the defendant with production of child

pornography, in violation of 18 U.S.C. § 2251 (a) and (e). The maximum penalties for this offense

are: a mandatory minimum term of imprisonment of 15 years, a maximum term of 30 years of

imprisonment, a fine of $250,000, full restitution as outlined below, forfeiture of assets as outlined

below, any special assessments pursuant to 18 U.S.C.§§ 3013, 3014, and 2259A, and a minimum
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